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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


 JASON PRECHTEL

                            Plaintiff,

                            v.                      Case No. 17-cv-01835 (CRC)

 FEDERAL COMMUNICATIONS
 COMMISSION, et al.

                            Defendants.




                                              ORDER

          For the reasons stated in the accompanying memorandum opinion, it is hereby

          ORDERED that Defendant Federal Communications Commission’s Motion for

Summary Judgment (ECF No. 11) is GRANTED IN PART and DENIED IN PART. It is further

          ORDERED that Plaintiff’s Motion for Partial Summary Judgment (ECF No. 14) is

GRANTED IN PART and DENIED IN PART. It is further

          ORDERED that the parties shall meet and confer, applying the analysis set forth in the

accompanying opinion, and file a joint status report on or before October 15, 2018, to include a

proposed briefing and document production schedule, if applicable, regarding the following

issues:

          (1) Defendant General Services Administration’s constructive denial of Plaintiff’s FOIA

                 request;

          (2) the adequacy of Defendant Federal Communications Commission’s search for

                 documents responsive to Plaintiff’s FOIA request for API keys and associated
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             information; and

      (3) Defendant Federal Communications Commission’s response to Plaintiff’s request for

             .CSV files.

      SO ORDERED.




                                                        CHRISTOPHER R. COOPER
                                                        United States District Judge
Date: September 13, 2018




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